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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE


UNITED STATES OF AMERICA                                                           PLAINTIFF


v.                                                   CRIMINAL ACTION NO. 3:19-CR-19-BJB


BRYAN DOUGLAS CONLEY                                                             DEFENDANT

                                      PROPOSED ORDER


     Defendant Bryan Conley moved to dismiss for violation of the Speedy Trial Act and under the

Sixth Amendment right to Speedy Trial. The United States responded requesting a hearing on

the Sixth Amendment matter and generally acknowledging a violation of the speedy trial act 70

limitation. The United States requested to be heard on the matter involving whether it should be

dismissed with or without prejudice. That request is granted.




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